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                     Case 6:19-cv-00465-ADA-JCM     Document 53 Filed 04/01/21 Page 1 of 3




                                      IN THE UNITED STATES DISTRICT COURT
                                       FOR THE WESTERN DISTRICT OF TEXAS
                                                 WACO DIVISION

              DR. CORNELIU BOLBOCEAN,                           §
                                                                §
                       Plaintiff,                               §
                                                                §
              v.                                                §      CASE NO. 6:19-CV-00465-ADA-JCM
                                                                §
              BAYLOR UNIVERSITY,                                §
                                                                §
                       Defendant.                               §


                                    STIPULATION OF DISMISSAL WITH PREJUDICE


             TO THE HONORABLE JUDGE OF THIS COURT:

                      Plaintiff Dr. Corneliu Bolbocean wishes to dismiss all claims asserted against Baylor in the

             above captioned matter with prejudice.

                      Accordingly, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Dr.

             Corneliu Bolbocean and Defendant Baylor University, acting through its counsel, hereby stipulate

             to the dismissal with prejudice of this action, including all claims asserted against Defendant

             Baylor University, with each party bearing its own costs, attorney’s fees, and expenses.




             JOINT STIPULATION OF DISMISSAL WITH PREJUDICE                                                PAGE 1
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                                                   Respectfully Submitted,

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                                                            UNIVERSITY




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                                                    CERTIFICATE OF SERVICE

                      I hereby certify that a true and correct copy of the foregoing document has been forwarded
             to all counsel of record herein by way of:

                               U.S. Mail, First Class
                               Certified Mail
                               Facsimile
                               Federal Express
                               Hand Delivery
                               E-Mail
                               ECF (electronically to the registered participants as identified on the Notice
                               of Electronic Filing (NEF)

             on this 1st day of April 2021, to wit:

                  Corneliu Bolbocean
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                                                             /s/ Julie A. Springer
                                                             Julie A. Springer




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